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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


SHARON PARCELL, individually and
on behalf of all others similarly
situated,                                   Case No. 1:22-cv-03666

             Plaintiff.                     Judge John F. Kness

       v.

PARAMOUNT GLOBAL,

             Defendant.



                                     ORDER

      The Court has reviewed the parties’ Agreed Motion to Stay Discovery and Joint

Initial Status Report. ECF Nos. 26, 27. The Court orders that all discovery shall be

stayed pending resolution of Defendant’s Motion to Compel Arbitration, Dismiss

Class Claims, and Stay All Proceedings (the “Motion to Compel”). ECF No. 17. If the

Court denies Defendant’s Motion to Compel, all discovery shall continue to be stayed

pending resolution of Defendant’s Motion to Dismiss Plaintiff’s First Amended

Complaint (the “Motion to Dismiss”). ECF No. 22.



SO ORDERED.

Date: September 16, 2022
                                             JOHN F. KNESS
                                             United States District Judge
